Case 4:20-cv-00596-RDP-JHE Document 26-6 Filed 05/06/20 Page 1 of 10            FILED
                                                                       2020 May-06 PM 11:59
                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA




        EXHIBIT 27
     Case 4:20-cv-00596-RDP-JHE Document 26-6 Filed 05/06/20 Page 2 of 10



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA



ARCHILLA, et al.,

                 Petitioners-Plaintiffs,


       v.                                         Civil Action No.: 4:20-cv-596-RDP-JHE


WITTE, et al.,


                 Respondents-Defendants.




                     DECLARATION OF AARON REICHLIN-MELNICK

       I, Aaron Reichlin-Melnick, make the following declaration based on my personal

knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746, that the

following is true and correct.

       1.        I am a Policy Counsel at the American Immigration Council (“Immigration

Council”), a nonprofit and non-partisan organization whose mission includes the use of facts to

educate the public on the important and enduring contributions that immigrants make to

America.

       2.        I make this Declaration in order to show that, based on comprehensive available

data, the vast majority of noncitizens who are in removal proceedings, but who are not detained,

nevertheless appear for scheduled removal hearings. Individuals who have been in the United

States for at least one year appear for removal hearings 88% of the time, rising to 91% for those

who have been in the United States for more than ten years. For those noncitizens who have

                                                 1
     Case 4:20-cv-00596-RDP-JHE Document 26-6 Filed 05/06/20 Page 3 of 10



counsel, the appearance rate approaches 100%. As every plaintiff in this case is a long-time

resident of the United States, this data demonstrates, in my opinion, that the asserted

governmental interest in ensuring appearance at court hearings and preventing flight risk does

not justify declining to release noncitizens who are at risk of contracting COVID-19.


                                            Basis for Opinion

        3.       At the Immigration Council, I track and analyze immigration-related statistics

produced by the Department of Homeland Security (“DHS”) and the Executive Office for

Immigration Review (“EOIR”), including trends in the appearance rate of asylum seekers and

other noncitizens placed into detention. In my role as Policy Counsel, I have previously

submitted declarations analyzing government-produced immigration statistics.1

        4.       I am familiar with the universe of relevant public statistics published by DHS and

EOIR. One of the key statistics that I study in my role as Policy Counsel is the appearance rate of

noncitizens who are placed into removal proceedings. I am the principal author of a July 2019

Immigration Council publication on the rate that noncitizens appear in removal proceedings.2 I

am also the author of an op-ed for the Wall Street Journal explaining the fundamental flaws in

EOIR’s current methodology for reporting the rate at which noncitizens appear in court.3

        5.       In preparation for this declaration I have extensively reviewed all public material

produced by EOIR on the appearance rates of noncitizens in court, as well as data on removal

hearings from Fiscal Year (“FY”) 2001 through March 2020 that is made public through

1
  Innovation Law Lab v. Wolf, 3:19-cv-00807-RS (N.D. Cal. filed Feb. 14, 2019), Padilla v. ICE, No. 2:18-cv-
00928-MJP (W.D. Wash. filed June 25, 2018), East Bay Sanctuary Coalition II v. Wolf, 3:19-cv-04073-JST (N.D.
Cal filed July 16, 2019).
2
  American Immigration Council, Immigrants and Families Appear in Court: Setting the Record Straight (2019),
available at https://www.americanimmigrationcouncil.org/research/immigrants-and-families-appear-court.
3
  Aaron Reichlin-Melnick, Trump’s Bad Immigration Math: In absentia’ rates grossly overstate asylum-seekers’
propensity to skip court., W.S.J., July 30, 2019, https://www.wsj.com/articles/trumps-bad-immigration-math-
11564526852.


                                                      2
     Case 4:20-cv-00596-RDP-JHE Document 26-6 Filed 05/06/20 Page 4 of 10



Syracuse University’s Transactional Records Access Clearinghouse Center (“TRAC”), a

nonpartisan academic center which obtains EOIR data through the Freedom of Information Act.

        6.       Analysis of this data reveals that most noncitizens placed in removal proceedings

appear in court. Over the past decade, more than 80% of all noncitizens placed in removal

proceedings inside the United States4 appeared for every scheduled removal proceeding. Those

represented by counsel were overwhelmingly likely to appear for every scheduled hearing, at a

rate of 97%. Furthermore, since Fiscal Year 2014, noncitizens released from detention were

more likely to appear in court than those who had never been detained in the first place.



                          Background of Removal and Appearance Process

        7.       When a respondent in immigration court fails to appear, an immigration judge

will generally order the respondent removed for failure to appear.5 Importantly, the issuance of a

removal order for failure to appear does not mean that the respondent absconded. Many people

fail to appear through no fault of their own, either because they were not properly served with a

hearing notice or because an extraordinary circumstance prevented their appearance. In many of

those situations, individuals may file a motion to reopen. See 8 C.F.R. § 1003.23(b)(4)(ii).

        8.       Many respondents successfully overturn an order of removal for failure to appear.

Accounting for cases in which a removal order for failure to appear is overturned “significantly

impacts and reduces the [failure to appear] rates.” See TRAC, What Happens When Individuals


4
  Throughout this declaration, I have excluded all cases of noncitizens placed into the Migrant Protection Protocols
(“MPP”), a DHS program in which asylum seekers are not permitted to enter the United States but are instead
placed into removal proceedings and sent to Mexico, where they must periodically return to a port of entry to access
their scheduled removal proceedings. Because MPP cases are categorically different than those that occur inside the
United States, they have been excluded.
5
  8 C.F.R. 1003.26(c) provides that when a respondent “fails to appear, the Immigration Judge shall order the alien
removed in absentia if” the government proves by clear and convincing evidence that the respondent is removable
and that the respondent received notice of the hearing and of the consequences of failing to appear.


                                                         3
     Case 4:20-cv-00596-RDP-JHE Document 26-6 Filed 05/06/20 Page 5 of 10



Are Released On Bond in Immigration Court Proceedings?, at n. 7 (Sept. 14, 2016), available at

https://trac.syr.edu/immigration/reports/438/.

       9.      Qualitative research into “in absentia” orders of removal suggests that filing

errors at either DHS or EOIR are the underlying cause of many failures to appear. CLINIC &

Urban Justice Ctr., Denied a Day in Court: The Government’s Use of In Absentia Removal

Orders Against Families Seeking Asylum (Mar. 2019), available at

https://cliniclegal.org/resources/removal-proceedings/denied-day-court-governments-use-

absentia-removal-orders-against. One example of this kind of bureaucratic mistake included in

the report is an asylum seeker who received two letters in the mail on the same day, one telling

her to appear in court the week prior, and another telling her she had been ordered removed for

missing that hearing. Id. at 19. She successfully reopened her case. Id. As part of the report,

attorneys successful overturned 34 out of 36 orders of removal for failure to appear.



Data Analysis Demonstrating that a Significant Majority of Noncitizens Appear for Every

                                      Removal Proceedings

       10.     From FY 2009 through March 2020, a total of 1,948,699 cases have been filed in

which at least one scheduled hearing for a person who was not detained (“nondetained hearing”)

has occurred. Out of these nearly two million cases, the noncitizen has appeared for every

scheduled nondetained hearing in 1,571,923 cases—80.7% of the time. This roughly 80%

appearance rate for all noncitizens placed in nondetained removal proceedings has been largely

consistent since about FY 2007 (see Figure 1).




                                                 4
     Case 4:20-cv-00596-RDP-JHE Document 26-6 Filed 05/06/20 Page 6 of 10



   Fig. 1: Percent of Nondetained Respondents That Appeared at Every Hearing
                              by fiscal year that a case was begun

  100.00%
   90.00%
   80.00%
   70.00%
   60.00%
   50.00%
   40.00%
   30.00%
   20.00%
   10.00%
    0.00%



                                            Fiscal Year Case Begun

    Source: TRAC, State and County Details on Deportation Proceedings in Immigration Court,
                          https://trac.syr.edu/phptools/immigration/nta/
                        * MPP cases excluded from FY2019 and FY2020


       11.     Those noncitizens who are represented by counsel are even more likely to appear.

From FY 2009 through March 2020, a total of 1,364,641 cases were filed in which the

respondent was represented by counsel and at least one scheduled nondetained hearing has

occurred. Out of these cases, the noncitizen has appeared for every scheduled nondetained

hearing in 1,326,274 cases—97.2%.

       12.     This extremely high appearance rate for respondents who are represented by

counsel has been consistent for decades (see Figure 2). This is one of the reasons why

representation by counsel may be the most significant factor in the outcome of removal

proceedings. See American Immigration Council, Access to Counsel in Immigration Court (Sept.

2016) (noting that “Represented immigrants who were never detained were nearly five times

more likely than their unrepresented counterparts to obtain relief if they sought it.”).



                                                  5
     Case 4:20-cv-00596-RDP-JHE Document 26-6 Filed 05/06/20 Page 7 of 10



Fig. 2: Percent of Represented Nondetained Respondents That Appeared at Every Hearing
                              by fiscal year that a case was begun

      100.00%
       90.00%
       80.00%
       70.00%
       60.00%
       50.00%
       40.00%
       30.00%
       20.00%
       10.00%
        0.00%



    Source: TRAC, State and County Details on Deportation Proceedings in Immigration Court,
                          https://trac.syr.edu/phptools/immigration/nta/
                        * MPP cases excluded from FY2019 and FY2020


       13.      Appearance rates vary among different groups placed into removal proceedings.

Three groups in particular have a higher appearance rate than the average: asylum seekers who

have been found to have a credible fear of persecution, individuals released from ICE detention,

and individuals who have been present in the United States for significant periods of time and

have put down roots—that is, made a home here.

       14.      Over the last decade, an order of removal for failure to appear was issued in an

estimated 12.6% of cases originating with a credible fear claim. From FY 2008 through FY

2018, a total of 345,356 cases were referred to the immigration courts following a credible fear

claim (see Fig. 2). See EOIR, Rates of Asylum Filings in Cases Originating with a Credible Fear

Claim (Nov. 2, 2018), available at https://www.justice.gov/eoir/page/file/1062971/download.

Over the same time period, immigration judges issued 43,476 orders of removal in absentia for

failure to appear in cases originating with a credible fear claim (see Fig. 1). See EOIR, In

                                                 6
       Case 4:20-cv-00596-RDP-JHE Document 26-6 Filed 05/06/20 Page 8 of 10



Absentia Removal Orders in Cases Originating with a Credible Fear Claim (Oct. 23, 2019),

available at https://www.justice.gov/eoir/page/file/1116666/download. Thus, over the past

decade, evidence suggests that at least 87.4% of asylum seekers who went through the credible

fear process appeared in immigration court for their scheduled removal proceedings, although

some of those noncitizens may have been detained during proceedings.6

          Figure 3: Orders of Removal For Failure to Appear in Credible Fear Cases
                                    FY 2008 to FY 2018

    400,000

    350,000

    300,000

    250,000

    200,000

    150,000

    100,000

     50,000

         0
               Cases Referred to Immigration Court        In Absentia Removal Orders in Cases
                Following a Credible Fear Claim           Originating with a Credible Fear Claim



         15.      This high appearance rate for asylum seekers is supported by an Immigration

Council report analyzing EOIR data from 2001-2016, which found that 86 percent of all families

released from immigration detention had a perfect court attendance rate. Ingrid Eagly, Steven

Shafer, & Jana Whalley, Detaining Families: A Study of Asylum Adjudication in Family


6
 EOIR data does not distinguish between proceedings that occurred inside detention with proceedings which
occurred outside of detention. Therefore, this 87.4% appearance rate cannot be viewed as the appearance rate for all
non-detained noncitizens who passed a credible fear interview. However, that asylum seekers would have a higher
appearance rate than average is supported by the American Immigration Council study, infra.


                                                         7
     Case 4:20-cv-00596-RDP-JHE Document 26-6 Filed 05/06/20 Page 9 of 10



Detention (2018), available at https://www.americanimmigrationcouncil.org/research/detaining-

families-a-study-of-asylum-adjudication-in-family-detention. For families who managed to

obtain counsel, the attendance rate rose to 96 percent. Id. at 23.

       16.     As with asylum seekers, those noncitizens who have been released from detention

are also more likely to appear in court than the average rate of around 80%. From FY 2009 to

March 2020, noncitizens who had been released from detention appeared in court 84.2% of the

time, compared to just 79.5% of the time for noncitizens who had never been detained.

       17.      In every year since FY 2014, individuals released from ICE detention have

appeared in court at higher rates than those never been detained in the first place (see Figure 4).

       Fig. 4: Percent of Nondetained Respondents That Appeared at Every Hearing
                      by custody status and fiscal year that a case was begun

   100.00%
    90.00%
    80.00%
    70.00%
    60.00%
    50.00%
    40.00%
    30.00%
    20.00%
    10.00%
     0.00%
             2009   2010   2011    2012    2013      2014     2015      2016      2017   2018   2019*   2020*
                                                Fiscal Year Case Begun

                               Never-detained      Inititally detained, then released

    Source: TRAC, State and County Details on Deportation Proceedings in Immigration Court,
                          https://trac.syr.edu/phptools/immigration/nta/
                        * MPP cases excluded from FY2019 and FY2020

       18.     Individuals who have been present in the United States for years—long enough to

put down roots—are also more likely to appear in court than those who are recent arrivals at the

border. For those respondents who have been present for at least one year, the appearance rate


                                                      8
    Case 4:20-cv-00596-RDP-JHE Document 26-6 Filed 05/06/20 Page 10 of 10



never falls below 84% (see Figure 5). Noncitizens who have been present in the United States for

ten or more years are overwhelmingly likely to appear. From FY 2009 through March 2020, a

total of 117,894 cases were filed in which 1) at least one nondetained hearing occurred and 2)

EOIR data indicates that the respondent had been present for at least ten years. Of these cases,

the respondent appeared at every nondetained hearing in 107,507 cases—91.2%.

        Fig. 5: Percent of Nondetained Respondents That Appeared at Every Hearing
     by time in the United States at initiation of removal proceedings, FY 2009 to March 2020

 100.00%
  90.00%
  80.00%
  70.00%
  60.00%
  50.00%
  40.00%
  30.00%
  20.00%
  10.00%
   0.00%




    Source: TRAC, State and County Details on Deportation Proceedings in Immigration Court,
                          https://trac.syr.edu/phptools/immigration/nta/
                                       * Excludes MPP cases


                                                          EXECUTED this 6th day of May, 2020.



                                                              _____________________________
                                                                AARON REICHLIN-MELNICK




                                                 9
